Case 2:22-cv-04355-JFW-JEM Document 314 Filed 06/15/23 Page 1 of 14 Page ID
                                #:21622



 1 Louis W. Tompros (pro hac vice)           ERIC BALL (CSB No. 241327)
   louis.tompros@wilmerhale.com              eball@fenwick.com
 2 Monica Grewal (pro hac vice)              KIMBERLY CULP (CSB No. 238839)
   monica.grewal@wilmerhale.com              kculp@fenwick.com
 3 Scott W. Bertulli (pro hac vice)          FENWICK & WEST LLP
   scott.bertulli@wilmerhale.com             801 California Street
 4 Tyler Carroll (pro hac vice)              Mountain View, CA 94041
   tyler.carroll@wilmerhale.com
 5 WILMER CUTLER PICKERING                   Telephone: 650.988.8500
     HALE AND DORR LLP                       Facsimile: 650.938.5200
 6 60 State Street
   Boston, MA 02109                          ANTHONY M. FARES (CSB No. 318065)
 7 Telephone: (617) 526-6000                 afares@fenwick.com
   Fax: (617) 526-5000                       ETHAN M. THOMAS (CSB No. 338062)
 8                                           ethomas@fenwick.com
   Derek Gosma (SBN 274515)                  FENWICK & WEST LLP
 9 derek.gosma@wilmerhale.com                555 California Street, 12th Floor
   Henry Nikogosyan (SBN 326277)             San Francisco, CA 94104
10 henry.nikogosyan@wilmerhale.com           Telephone: 415.875.2300
   WILMER CUTLER PICKERING
11 HALE AND DORR LLP                         Additional Counsel listed on next page
   350 South Grand Ave., Suite 2400
12 Los Angeles, CA 90071
   Telephone: (213) 443-5300                 Attorneys for Plaintiff
13 Fax: (213) 443-5400                       YUGA LABS, INC.
14 Attorneys for Defendants
   RYDER RIPPS and JEREMY CAHEN
15
16                            UNITED STATES DISTRICT COURT
17                           CENTRAL DISTRICT OF CALIFORNIA
18                             WESTERN DIVISION – Los Angeles
19
20 YUGA LABS, INC.,                            Case No.: 2:22-cv-04355-JFW-JEM
21                     Plaintiff,              JOINT STATEMENT RE NATURE
                                               AND SCOPE OF DEFENDANTS’
22          v.                                 PROPOSED TRIAL TESTIMONY
23 RYDER RIPPS, JEREMY CAHEN,
24
               Defendants.
25
26
27
28

     JOINT STATEMENT RE
     DEFENDANTS’ TRIAL TESTIMONY                                 Case No. 2:22-cv-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 314 Filed 06/15/23 Page 2 of 14 Page ID
                                #:21623



  1 .                                    MELISSA L. LAWTON (CSB No.
                                         225452)
  2                                      mlawton@fenwick.com
                                         FENWICK & WEST LLP
  3                                      228 Santa Monica Boulevard
                                         Santa Monica, CA 90401
  4                                      Telephone: 310.434.4300
  5                                      DAVID Y. SILLERS (admitted pro hac
  6                                      vice)
                                         david@clarelocke.com
  7                                      KATHRYN HUMPHREY (admitted pro
                                         hac vice)
  8                                      kathryn@clarelocke.com
                                         MEGAN L. MEIER (admitted pro hac
  9                                      vice)
                                         megan@clarelocke.com
10                                       CLARE LOCKE LLP
                                         10 Prince Street
11                                       Alexandria, VA 22314
12                                       Telephone: 202.628.7400

13                                       Attorneys for Plaintiff
                                         YUGA LABS, INC.
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

      JOINT STATEMENT RE
      DEFENDANTS’ TRIAL TESTIMONY                            Case No. 2:22-cv-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 314 Filed 06/15/23 Page 3 of 14 Page ID
                                #:21624



  1           Plaintiff Yuga Labs, Inc. (“Yuga Labs”) and Defendants Ryder Ripps and
  2 Jeremy Cahen (collectively, “Defendants”) hereby submit this Joint Statement
  3 pursuant to the Court’s June 12, 2023 Order (Dkt. 308).
  4 I.        SUMMARY OF THE PARTIES’ AGREEMENTS
  5           A.      The Parties agree that Defendants may offer testimony:
  6                • That Ryder Ripps represents that he is an artist.
  7                • That Defendants contend they created RR/BAYC NFTs and/or used the
  8                   BAYC Marks with an intent to criticize Yuga Labs and BAYC NFTs.
  9 II.       SUMMARY OF DISPUTED ISSUES
10            A.      Plaintiff proposes that Defendants may not offer or seek
                      testimony:
11
                   • Concerning the content or substance of Defendants’ criticism of Yuga
12
                      Labs or its founders.
13
                   • Stating or suggesting that Yuga Labs or its employees/agents support,
14
                      condone, or are affiliated with Naziism, antisemitism, racism, alt-right
15
                      ideology, or white supremacy.
16
                   • Stating or suggesting that Defendants or others believed Yuga Labs or
17
                      its employees/agents support, condone, or are affiliated with any of the
18
                      above ideologies.
19
                   • Stating or suggesting that Defendants created RR/BAYC NFTs, created
20
                      Ape Market, and/or used the BAYC Marks based on a belief, or to call
21
                      attention to allegations that, Yuga Labs or its employees/agents support,
22
                      condone, or are affiliated with any of the above ideologies.
23
                   • Stating or suggesting that Yuga Labs’ name, brands, goods, services, or
24
                      artwork contain embedded or coded references to any of the above
25
                      ideologies.
26
27
28

      JOINT STATEMENT RE
      DEFENDANTS’ TRIAL TESTIMONY                  1                 Case No. 2:22-cv-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 314 Filed 06/15/23 Page 4 of 14 Page ID
                                #:21625



  1                • Stating or suggesting that Defendants created RR/BAYC NFTs, created
  2                   Ape Market, and/or used the BAYC Marks as an art project or with
  3                   artistic intent.
  4                • Stating or suggesting Yuga Labs or its employees/agents are or have
  5                   been associated with FTX or its management.
  6                • Stating or suggesting that Yuga Labs or its employees/agents have
  7                   engaged in (or have been accused of engaging in) criminal, unlawful, or
  8                   fraudulent conduct.
  9                • Referencing litigation or any actual or purported government
10                    investigations involving Yuga Labs and any third party other than
11                    Thomas Lehman or Ryan Hickman.
12            B.      Defendants propose limiting trail testimony in the following
                      manner:
13
                   • Absent Court Permission,1 Defendants will not:
14
                         o testify concerning alleged references to pedophilia
15
                         o testify using the words “Nazi” or “Hitler”
16
                         o refer in their testimony to Sam Bankman-Fried
17
                         o refer in their testimony to allegations concerning death threats or
18
                             harassment
19
                         o refer in their testimony to the class action lawsuit brought against
20
                             Yuga for securities fraud
21
                         o refer in their testimony to the SEC investigation into Yuga for
22
                             securities fraud
23
      III.    YUGA LABS’ POSITION AS TO CONTESTED TOPICS
24
              Yuga Labs’ position is that Defendants’ diversions into the contested topics
25
      would be irrelevant, unduly prejudicial, and a waste of time. See Fed. R. Civ. P.
26
27
    Should Plaintiff’s witness examination(s) open the door on a precluded topic,
      1
28 Defendants respectfully reserve the right to seek the Court’s permission to respond.

      JOINT STATEMENT RE
      DEFENDANTS’ TRIAL TESTIMONY                  2                 Case No. 2:22-cv-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 314 Filed 06/15/23 Page 5 of 14 Page ID
                                #:21626



  1 401, 403. These risks are severely compounded if the remaining issues are tried
  2 before a jury, because such accusations present an unworkable dilemma: leave them
  3 unaddressed, which improperly suggests to the jury that the claims have merit, or
  4 defend against them, which creates precisely the mini-trial that the Court previously
  5 found irrelevant and sought to avoid. Worse still, Defendants’ attacks would make
  6 the trial about animus and not evidence. But fortunately, this Pandora’s box need
  7 not be opened, because there is no legitimate reason for Defendants to testify to the
  8 contested issues described above.
  9           Yuga Labs has agreed that Defendants can answer the question of why they
10 infringed Yuga Labs’ marks by testifying that they wanted to criticize the original
11 BAYC NFTs. They can testify that Ryder Ripps purports to be an artist, and end
12 the testimony there. Given that liability has been established; this is now solely a
13 trial on remedies. There is no legitimate reason to probe further and ask Defendants
14 to repeat their false and irrelevant theories about Yuga Labs and purported hidden
15 messages in its products, or to claim that Defendants’ commercial infringement was
16 a misguided art project and insinuate that there is still occasion to find a First
17 Amendment justification.
18            A.     Evidence of Intent Is Not Relevant for Trial
19            The Court has already decided the issue of Defendants’ intent. “Defendants
20 knowingly and intentionally used Yuga’s BAYC Marks” and “admitted that they
21 intentionally used the BAYC Marks in their RR/BAYC NFTs.” Summary
22 Judgment Order (Dkt. 225) at 11-12. More specifically, “Defendants used the
23 BAYC Marks in an effort to confuse consumers” and “intentionally designed the
24 RR/BAYC NFTs and sales websites to resemble Yuga’s branding.” Id. at 12. As
25 to the registration of domain names using Yuga Labs’ marks, Defendants “acted
26 with a bad faith intent to profit.” Id. at 15. Defendants’ use of the BAYC Marks
27 was not artistically relevant to their proclaimed “art” and their conduct was
28 explicitly misleading. Id. at 16-17. As to Defendants’ characterization of their

      JOINT STATEMENT RE
      DEFENDANTS’ TRIAL TESTIMONY               3                   Case No. 2:22-cv-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 314 Filed 06/15/23 Page 6 of 14 Page ID
                                #:21627



  1 infringement as art, the Court’s Order was similarly decisive. Defendants’
  2 “conduct at issue in this action . . . does not constitute an expressive artistic work.”
  3 Id. at 16. “[T]he RR/BAYC NFTs do not express an idea or point of view,” and
  4 their “NFT marketplace sales and Ape Market website contain no artistic
  5 expression or critical commentary.” Id. In other words, “Defendants’ sale of
  6 RR/BAYC NFTs is no more artistic than the sale of a counterfeit handbag . . . .” Id.
  7 Though Defendants continue to attempt to bring in their falsehoods through various
  8 backdoor theories, the well has run dry: there is no merit for continuing to relitigate
  9 these issues at trial, even if Defendants cast it as “context” or “background.”
                                                                                    2


10 Defendants’ vague proposals to exclude only certain words of phrases (e.g., not say
11 “Nazi” but still say “racist,” or “German Third Reich,” or “SS”) from their
12 testimony is an invitation to once again relitigate these issues. For instance,
13 Defendants’ proposal would permit them to repeat claims made just this week that
14 one of Yuga Labs’ witness’s maternity dress was a coded reference to a
15 “concentration camp gown.” Defendant Cahen’s June 12, 2023 Tweet,
16 https://twitter.com/Pauly0x/status/1668249155305631744. No witness in a simple
17 trademark remedies trial should be subject to such vile and baseless accusations.
18           Even still, further discussion of Defendants’ subjective intent for infringing
19 Yuga Labs’ marks is not relevant to remedies. Defendants make their latest attempt
20 to bring their theories about Yuga Labs and their purported artistic mission into this
21 case under the argument that they “genuinely believed in their artistic criticisms.”
22 Motion in Limine No. 1 (Dkt. 232) at 21; Motion in Limine No. 2 (Dkt. 236) at 17
23 (same). But the genuineness of their beliefs means nothing at this stage of the
24 litigation, because they chose to rip off Yuga Labs’ trademarks and enrich
25
     To the extent Defendants argue that findings from the Court’s Summary Judgment
     2

26 Order  are not binding and can be relitigated at trial, Yuga Labs disagrees for the
   reasons argued in its briefing around motions in limine nos. 1 and 2 and jury
27 instructions. See Dkt. 231 (briefing on proposed jury instructions), 232 (motion in
   limine no. 1), 233 (motion in limine no. 2), 274 (joint statement on motion in limine
28 no. 1), 275 (joint statement on motion in limine no. 2).

     JOINT STATEMENT RE
     DEFENDANTS’ TRIAL TESTIMONY                 4                  Case No. 2:22-cv-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 314 Filed 06/15/23 Page 7 of 14 Page ID
                                #:21628



  1 themselves in the process rather than express those purportedly claimed beliefs
  2 through non-tortious means. Defendants’ profits are what they are, regardless of
  3 the willfulness of their infringement. The harm done to Yuga Labs is likewise
  4 independent of Defendants’ willfulness. Their intent to harm does not increase the
  5 impact on the harm to Yuga Labs. Only the action and the result matter for those
  6 computations. And, though this is a matter for the Court and not the jury,
  7 willfulness is not necessary to establish that this is an exceptional case. See
  8 SunEarth, Inc. v. Sun Earth Solar Power Co., 839 F.3d 1179, 1180 (9th Cir. 2016)
  9 (explaining factors to consider as part of “the ‘totality of the circumstances’ to
10 determine if the infringement was exceptional”).
11           Defendants’ purported basis for introducing and discussing the substance of
12 these topics is that by spreading their outrageous theories, Yuga Labs’ brand value
13 was damaged in a way that was merely amplified by their tortious conduct.
14 Defendants have identified no evidence whatsoever and have no expert to support
15 this theory. They have no quantification. And they have no evidence of causation.
16 Indeed, they sought to develop this theory through Dr. Jonah Berger’s deposition,
17 where it was squarely rejected. See, e.g., Berger Dep. Tr. at 105:5-16 (“I believe
18 that those allegations were made before the period that I look at in figure 7, for
19 example. And so if that was damaging the brand, people should already be aware
20 of that information, that damage should have already occurred. The fact that this
21 damage seems to be localized to the period in which the RR/BAYCs were being
22 minted, suggests that that is – provides evidence that that is what is driving the shift
23 rather than something else.”). Defendants’ proffered, non-expert, testimony has no
24 probative value and serves only as a longshot hope that the jury will essentially
25 nullify the Court’s liability findings by slashing damages.
26           The cases Defendants cite in an effort to demonstrate probative value are
27 inapposite, most simply because the racially charged materials in those cases were
28 all relevant to liability (for, e.g., claims asserting racial discrimination or

     JOINT STATEMENT RE
     DEFENDANTS’ TRIAL TESTIMONY                 5                  Case No. 2:22-cv-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 314 Filed 06/15/23 Page 8 of 14 Page ID
                                #:21629



  1 deprivation of constitutional rights). This is and has always been a trademark
  2 infringement case, and liability is not an issue for trial. A more relevant precedent
  3 is MGA Entertainment v. Harris, No. 2:20-cv-11548-JVS-AGR (C.D. Cal.), a
  4 trademark infringement case in which the court granted a motion in limine to
  5 exclude allegations of cultural appropriation and then declared a mistrial when
  6 Defendants introduced such materials at trial. Id. (Dkt. 569) (granting motion for
  7 mistrial); see also id. (Dkt. 502) (C.D. Cal. Jan. 13, 2023) (excluding in limine
  8 “statements regarding cultural appropriation” as they “have no bearing on any of
  9 the counterclaims, and . . . are accordingly immaterial and impertinent.”).
10           B.     Testimony as to the Contested Topics Is Inadmissible
11           Even if Defendants could establish some minimal relevance to these
12 contested topics, that relevance is substantially outweighed by the prejudice,
13 confusion, distraction, and waste of time these topics would introduce into trial.
14 The prejudicial effect of these inflammatory accusations is self-evident: it threatens
15 to taint factual findings about remedies by unfairly planting suspicions and
16 reopening issues of liability under the guise of nullifying Yuga Labs’ remedies.
17 Introducing and responding to these claims would involve testimony, cross-
18 examination, exhibits, objections, and deposition testimony that could otherwise be
19 excised from trial to focus on the actual remaining issues. And, if remedies are
20 tried to a jury, Yuga Labs should not have to waste its limited trial time responding
21 to baseless accusations to keep the jury from drawing improper inferences. The
22 testimony Defendants seek to introduce is quintessential Fed. R. Civ. P. 403
23 material that would result in a sideshow and threaten to derail the narrow remaining
24 issues in this litigation.
                              3


25
26
     Even if the Court does determine that testimony about any of the contested topics
     3
27 is admissible for an equitable issue or exceptional case determination, those are issues
   for the Court and not the jury. If such testimony is heard at all, it should not be heard
28 in the presence of the jury where the prejudicial effect could not be cured.

     JOINT STATEMENT RE
     DEFENDANTS’ TRIAL TESTIMONY                6                 Case No. 2:22-cv-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 314 Filed 06/15/23 Page 9 of 14 Page ID
                                #:21630



  1           Unfortunately, even after the Court’s pretrial conference, Defendants have
  2 made clear that they intend to abuse this litigation and the trial to further their false
  3 claims and attack Yuga Labs as “racist fraudsters.” See Defendant Cahen’s June
  4 12, 2023 Tweet, https://twitter.com/Pauly0x/status/1668435427819245569 (“They
  5 know that they will look like crazy, racist fraudsters in front of any California
  6 jury.”). Defendants freely admit that they are not seeking to raise these topics for
  7 the truth of the matter. Motion in Limine No. 1 (Dkt. 232) at 31 (representing
  8 Defendants will not “seek to introduce evidence about critiques of Yuga for their
  9 truth”). Defendants know their allegations are not true, and their unsupported
10 claims (and their efforts to parrot baseless claims by others) serve only to bias the
11 jury.
12            Defendants’ admitted intent to litigate not on the relevant evidence, but on
13 animus, enhances the need for the Court to cabin Defendants’ testimony to only the
14 issues relevant for trial. The courtroom is not the Defendants’ playground to peddle
15 their lies. After repeated briefing and litigation on these issues, this trial is now the
16 time for Defendants to take responsibility for their actions.
17 IV.        DEFENDANTS’ POSITION AS TO CONTESTED TOPICS
18            Yuga’s contention that Defendants “intend to abuse this litigation and the
19 trial” is unwarranted and unfair. Defendants position is and always has been that
20 they should be able to explain their conduct to the jury that will determine the
21 amount of damages. Yuga’s motion as-filed sought to foreclose Defendants’ ability
22 to do so entirely.
23            Acknowledging the need for explanatory testimony, Yuga has rightly
24 abandoned its position that Defendants could not testify at all about Defendants’
25 artistic intent. Accordingly, the parties now agree that Defendants must be allowed
26 to testify that Mr. Ripps is an artist, and that Defendants created RR/BAYC NFTs
27 and/or used the BAYC Marks with an intent to criticize Yuga Labs and BAYC
28 NFTs.

      JOINT STATEMENT RE
      DEFENDANTS’ TRIAL TESTIMONY                7                  Case No. 2:22-cv-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 314 Filed 06/15/23 Page 10 of 14 Page ID
                                 #:21631



  1           Unfortunately, the parties were unable to agree as to whether Defendants
  2 should be permitted to testify at all about the nature of that criticism, even at a
  3 general level. Yuga’s proposal, which would limit Defendants to an artificial and
  4 sterile recitation that Defendants were protesting without any explanation for why,
  5 simply will not accurately present the facts of this case for the jury’s consideration.
  6 To be clear: Defendants have no intent to have a “mini-trial” on the substance or
  7 truth of Defendants’ criticisms. But the fact that there were criticisms of the
  8 content of Yuga’s products and brand because of problematic imagery, content, and
  9 conduct is directly relevant to Yuga’s damages claim. See Romag Fasteners, Inc v.
 10 Fossil, Inc., 206 L. Ed. 2d 672, 140 S. Ct. 1492, 1494, 1497 (2020) (“Without
 11 question, a defendant’s state of mind may have a bearing on what relief a plaintiff
 12 should receive. An innocent trademark violator often stands in very different shoes
 13 than an intentional one. . . . Given these traditional principles, we do not doubt that
 14 a trademark defendant’s mental state is a highly important consideration in
 15 determining whether an award of profits is appropriate.”).
 16           Specifically, Yuga states that its marketing expert, Jonah Berger, “will show
 17 how the promotion, marketing, and sales of RR/BAYC NFTs changed consumer
 18 perception of the BAYC brand and caused confusion in the marketplace, resulting
 19 in negative consumer attitudes and harming Yuga Labs’ brand equity and goodwill
 20 as a result of Defendants’ promotion, marketing, and sales of RR/BAYC NFTs.”
 21 Berger Offer of Proof, Dkt. 267, at 4. The problem, however, is that the “negative
 22 consumer attitudes” that purportedly arose from the RR/BAYC Project were not (or
 23 at minimum, not entirely) the result of “confusion in the marketplace,” but instead
 24 the result of the substance of Defendants’ criticisms of Yuga and the BAYC NFTs
 25 imagery. Although Dr. Berger contended at his deposition that he had not seen
 26 “any evidence that [Defendants’] allegations damaged the brand,” the jury is
 27 entitled to determine whether that opinion is credible.
 28

      JOINT STATEMENT RE
      DEFENDANTS’ TRIAL TESTIMONY                8                 Case No. 2:22-cv-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 314 Filed 06/15/23 Page 11 of 14 Page ID
                                 #:21632



  1           Defendants of course have no intention of making the damages trial a “mini-
  2 trial” about “animus” as Yuga contends. But Defendants must be allowed to testify
  3 about the nature of their criticism at some level, to show that Yuga’s alleged
  4 damages do not come “from defendants’ trademark infringement” (Yuga’s Jury
  5 Instruction No. 28, Dkt. 230 at 41), but rather are attributable to negative sentiment
  6 in the market resulting from Defendants’ criticisms of Yuga.
  7           To fairly balance any theoretical undue prejudice to Yuga from such
  8 testimony against the clear unfair prejudice to Defendants if they are denied the
  9 ability to explain their own actions, Defendants proposed a reasonable set of
 10 limitations, under which Defendants would be able to testify generally that they
 11 were criticizing Yuga’s company and product because of content that Defendants
 12 perceived to be racist and otherwise problematic, and that a portion of the harm that
 13 Yuga attributes to consumer confusion for purposes of damages is more correctly
 14 attributable to increased public awareness of that criticism. As discussed above and
 15 for the reasons explained in detail in Defendants’ oppositions to Yuga’s motions in
 16 limine, Defendants continue to maintain that evidence of sources of harm other than
 17 consumer confusion remains relevant to the calculation of damages.
 18           The need to explain—at least at a high level—the nature of Defendants’
 19 criticism is not outweighed by unfair prejudice concerns. Even “inflammatory”
 20 material is admissible under Rule 403 when it goes directly to the theory of the
 21 case. See, e.g., Bassett v. City of Burbank, No. 2:14-CV-01348-SVW-CW, 2014
 22 WL 12573395, at *4-5 (C.D. Cal. Nov. 14, 2014) (denying a motion to exclude
 23 evidence of defendants’ “racially inflammatory statements” because “the remarks
 24 are central to Plaintiff's theory of the case”); United States v. Haig, 365 F. Supp. 3d
 25 1101, 1107-08 (D. Nev. 2019) (denying in part motion to exclude inflammatory
 26 evidence because the evidence was “uniquely probative” and granting the motion
 27 “would be nothing less than to exclude the heart of the government’s case.”);
 28 Harris v. Lynwood Unified School District, No. 07-cv-05058-DDP, 2009 WL

      JOINT STATEMENT RE
      DEFENDANTS’ TRIAL TESTIMONY               9                 Case No. 2:22-cv-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 314 Filed 06/15/23 Page 12 of 14 Page ID
                                 #:21633



  1 10673589, at *2 (C.D. Cal. Sep. 21, 2009) (denying motion to exclude “racially
  2 inflammatory language” because the “probative value of her statements weigh in
  3 favor of admitting them.”).
  4           The single case that Yuga cites, MGA Entertainment v. Harris, No. 2:20-cv-
  5 11548-JVS-AGR (C.D. Cal.), does not apply Rule 403 and is thus inapplicable. In
  6 MGA, the Harris Parties sought to introduce evidence of cultural appropriation
  7 simply to show the superiority of their product (for pursuing various diversity
  8 goals). Id. (Dkt. 502 at 7). The Court excluded the evidence after concluding it
  9 was “immaterial” to the trademark inquiry. Id. In contrast, the evidence at issue in
 10 this case directly relates to an alternative reason for the purported harm that
 11 Plaintiff alleges—the primary dispute at trial. That is, Defendants’ criticism is
 12 uniquely probative because it shows that the purported harm was not due to
 13 consumer confusion—the basis upon which Plaintiff seeks to recover damages.
 14           Further, Defendants have proposed reasonable guardrails to avoid the “mini-
 15 trial” on the substance of their claims as outlined in the Section II.B. of this
 16 submission. Fundamentally, Defendants’ proposal in Section II.B. strikes a balance
 17 permitting Defendants to mount a fair defense that includes an explanation of the
 18 nature of their criticism and its impact on damages, without undue inflammatory
 19 testimony.
 20
 21
 22
 23
 24
 25
 26
 27
 28

      JOINT STATEMENT RE
      DEFENDANTS’ TRIAL TESTIMONY               10                 Case No. 2:22-cv-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 314 Filed 06/15/23 Page 13 of 14 Page ID
                                 #:21634



  1 Dated: June 15, 2023                       WILMER CUTLER PICKERING HALE
                                               AND DORR LLP
  2
  3
                                               By: /s/ Louis W. Tompros
  4                                              Louis W. Tompros(pro hac vice)
                                                 louis.tompros@wilmerhale.com
  5                                              WILMER CUTLER PICKERING
                                                   HALE AND DORR LLP
  6                                              60 State Street
                                                 Boston, MA 02109
  7                                              Telephone: (617) 526-6000
                                                 Fax: (617) 526-5000
  8
                                               Attorneys for Defendants
  9                                            RYDER RIPPS and JEREMY CAHEN
 10
 11 Dated: June 15, 2023                       FENWICK & WEST LLP
 12
 13                                            By: /s/ Eric Ball
                                                   Eric Ball
 14                                            Attorneys for Plaintiff
                                               YUGA LABS, INC.
 15
 16
                       ATTESTATION OF CONCURRENCE IN FILING
 17
              Pursuant to the United States District Court for the Central District of
 18
      California’s Civil L.R. 5-4.3.4(a)(2)(i), Louis W. Tompros attests that concurrence
 19
      in the filing of this document has been obtained from Eric Ball.
 20
 21                                                /s/ Louis Tompros
 22                                               Louis W. Tompros(pro hac vice)
                                                  louis.tompros@wilmerhale.com
 23                                               WILMER CUTLER PICKERING
                                                    HALE AND DORR LLP
 24                                               60 State Street
                                                  Boston, MA 02109
 25                                               Telephone: (617) 526-6000
                                                  Fax: (617) 526-5000
 26
 27
 28

      JOINT STATEMENT RE
      DEFENDANTS’ TRIAL TESTIMONY                11                  Case No. 2:22-cv-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 314 Filed 06/15/23 Page 14 of 14 Page ID
                                 #:21635



  1                                 CERTIFICATE OF SERVICE
  2           I hereby certify that a copy of the foregoing document was served on all
  3 attorneys of record via email June 15, 2023.
  4
  5                                          By: /s/ Louis W. Tompros
                                                 Louis W. Tompros (pro hac vice)
  6                                              louis.tompros@wilmerhale.com
                                                 WILMER CUTLER PICKERING
  7                                                HALE AND DORR LLP
                                                 60 State Street
  8                                              Boston, MA 02109
                                                 Telephone: (617) 526-6000
  9                                              Fax: (617) 526-5000
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

      JOINT STATEMENT RE
      DEFENDANTS’ TRIAL TESTIMONY             12               Case No. 2:22-cv-04355-JFW-JEM
